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                               EXHIBIT M
                                 Footnote 22
      Archived CDC Page: “Interim Public Health Recommendations for Fully
                              Vaccinated People”
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     Interim Public Health Recommendations for Fully
     Vaccinated People
     Updated Oct. 15, 2021                    Print




     Summary of Recent Changes

             Updates as of October 15, 2021




                                                                                                                                                       
              •   Based on evolving evidence, CDC recommends fully vaccinated people get tested 5-7 days after close contact
                  with a person with suspected or confirmed COVID-19.

              •   Added Annex describing what vaccines qualify people as fully vaccinated and how to interpret vaccine records.




     Guiding Principles
     The following recommendations apply to non-healthcare settings. For related information for healthcare settings, visit
     Updated Healthcare Infection Prevention and Control Recommendations in Response to COVID-19 Vaccination.

     Fully vaccinated people can:


         •    Participate in many of the activities that they did before the pandemic.

         •    Resume domestic travel and refrain from testing before or after travel and from self-quarantine after travel.

         •    Refrain from testing before leaving the United States for international travel (unless required by the destination) and
              refrain from self-quarantine after arriving back in the United States.

         •    Refrain from routine screening testing if feasible.

     COVID-19 vaccines are safe and effective at preventing infection, hospitalization, and
     death. Most people who get COVID-19 are unvaccinated. However, since vaccines are
     not 100% effective at preventing infection, some people who are fully vaccinated
     will still get COVID-19. An infection of a fully vaccinated person is referred to as a
     “breakthrough infection.” People who get vaccine breakthrough infections can be
     contagious but are less likely than unvaccinated people to be hospitalized or die.

     To reduce the risk of becoming infected with SARS-CoV-2 (the virus that causes
     COVID-19) including the Delta variant, and potentially spreading it to others, CDC
     recommends that fully vaccinated people:


         •    Wear a mask indoors in public if they are in an area of substantial or high
              transmission.


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                      Fully vaccinated people might choose to mask regardless of the level of
                  -
                      community transmission, particularly if they or someone in their household                                                COVID-19
                      is immunocompromised or at increased risk for severe disease, or if
                                                                                                                                                County Check
                      someone in their household is unvaccinated.
                                                                                                                                 Find community transmission levels
         •   Get tested if experiencing COVID-19 symptoms.

         •   Get tested 5-7 days after close contact with someone with suspected or
                                                                                                                                 Select a Location
             confirmed COVID-19.

         •   Wear a mask indoors in public for 14 days after exposure or until a negative test
             result.

         •   Isolate if they have tested positive for COVID-19 in the prior 10 days or are                                          County
             experiencing COVID-19 symptoms.

         •   Follow any applicable federal, state, local, tribal, or territorial laws, rules, and
             regulations.



                            About the Delta Variant: Vaccines continue to reduce a person’s risk of contracting the virus that cause
                           COVID-19, including this variant. Vaccines are highly effective against severe illness, but the Delta variant
                            causes more infections and spreads faster than earlier forms of the virus that causes COVID-19. Learn more
                            about variants in the US.



     People who are immunocompromised should be counseled about the potential for reduced immune responses to COVID-19
     vaccines and to follow current prevention measures (including wearing a mask, staying 6 feet apart from others they don’t live
     with, and avoiding crowds and poorly ventilated indoor spaces) regardless of their vaccination status to protect themselves
     against COVID-19 until advised otherwise by their healthcare provider.




     Overview
     Currently approved or authorized COVID-19 vaccines protect people from getting infected and severely ill, and significantly
     reduce the likelihood of hospitalization and death. [i] Fully vaccinated people are less likely to become infected and, if infected,
     to develop symptoms of COVID-19 compared with unvaccinated people. Even when fully vaccinated people develop
     symptoms, they tend to be less severe symptoms than in unvaccinated people. This means they are much less likely to be
     hospitalized or die than people who are not vaccinated. However, people who get vaccine breakthrough infections can be
     contagious and spread the virus to others.

     In general, people are considered fully vaccinated (Annex) against COVID-19:


         •   2 weeks after their second dose in a 2-dose series, such as the Pfizer-BioNTech or Moderna vaccines, or

         •   2 weeks after a single-dose vaccine, such as Johnson & Johnson’s Janssen vaccine


     There is currently no post-vaccination time limit on fully vaccinated status. People are considered not fully vaccinated if they
     have not completed vaccination, cannot be vaccinated, or are not eligible for vaccines, including children less than 12 years of
     age.

     Data suggest immune response to COVID-19 vaccination might be reduced in some immunocompromised people including,
     but not limited to, people receiving chemotherapy for cancer, people with hematologic cancers such as chronic lymphocytic
     leukemia, people receiving stem cells or organ transplants, people receiving hemodialysis, and people using certain
     medications that might blunt the immune response to vaccination (e.g., mycophenolate, rituximab, azathioprine, anti-CD20
     monoclonal antibodies, Bruton tyrosine kinase inhibitors).


     People who are immunocompromised should be counseled about the potential for reduced immune responses to COVID-19
     vaccines and the need to continue to follow current prevention measures (including wearing a mask, staying 6 feet apart from
     others they don’t live with, and avoiding crowds and poorly ventilated indoor spaces) to protect themselves against COVID-19




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     until advised otherwise by their healthcare provider. CDC also recommends that people who are moderately to severely
     immunocompromised should receive an additional dose of mRNA COVID-19 vaccine after the initial 2 doses. Close contacts of
     immunocompromised people should also be encouraged to be vaccinated against COVID-19.

     This guidance provides recommendations for fully vaccinated people, including:

        COVID-19
        • How fully vaccinated people can safely resume many activities while protecting others.
         •   How fully vaccinated people should approach domestic and international travel.

         •   How fully vaccinated people should approach isolation, quarantine, and testing.


     CDC will continue to evaluate and update public health recommendations for fully vaccinated people as more information,
     including on Delta and other new variants, becomes available. Further information on evidence and considerations related to
     these recommendations is available in the Science Brief.



     Recommendations for Indoor Settings
     Risk of SARS-CoV-2 infection, severe disease, and death is reduced for fully vaccinated people. However, since vaccines are
     not 100% effective at preventing infection, some people who are fully vaccinated will still get COVID-19 infection. Fully
     vaccinated people who do become infected can transmit it to others. Therefore, fully vaccinated people can further reduce
     their risk of becoming infected with SARS-CoV-2 and transmitting it to others by wearing a mask indoors in public in areas of
     substantial or high community transmission. Wearing a mask in public is most important for people who are
     immunocompromised due to their risk of becoming infected. Fully vaccinated people might choose to mask regardless of the
     level of community transmission, particularly if they or someone in their household is immunocompromised or at increased
     risk for severe disease, or if someone in their household is not fully vaccinated. People at increased risk for severe disease
     include older adults and those who have certain medical conditions, such as diabetes, overweight or obesity, and heart
     conditions. Fully vaccinated people should also continue to wear a mask where required by federal, state, local, tribal, or
     territorial laws, rules, and regulations, including local business and workplace guidance, and in correctional facilities and
     homeless shelters. Prevention measures are still recommended in indoor public spaces for unvaccinated people.


     CDC recommends universal indoor masking for all teachers, staff, students, and visitors to schools, regardless of vaccination
     status. Children should return to full-time in-person learning in the fall with proper prevention strategies in place.



     Recommendations for Outdoor Settings
     Current data suggest the risk of transmission of SARS-CoV-2 in outdoor settings is low. In general, fully vaccinated people do
     not need to wear a mask outdoors. Fully vaccinated people might choose to wear a mask in crowded outdoor settings if they
     or someone in their household is immunocompromised, at increased risk of severe disease, or not fully vaccinated.



     Travel
     Fully vaccinated travelers are less likely to get and spread SARS-CoV-2 and can now travel at low risk to themselves within the
     United States. International travelers need to pay close attention to the situation at their international destinations before
     traveling due to the spread of new variants and because the burden of COVID-19 varies globally.


     Wearing a mask over your nose and mouth is required on planes, buses, trains, and other forms of public transportation
     traveling into, within, or out of the United States and while indoors at U.S. transportation hubs such as airports and stations.
     Travelers are not required to wear a mask in outdoor areas of a conveyance (like on open deck areas of a ferry or the
     uncovered top deck of a bus).



     Domestic travel (within the United States or to a U.S. territory)
         •   Fully vaccinated travelers do not need to get a SARS-CoV-2 viral test before or after domestic travel, unless testing is
             required by local, state, or territorial health authorities.

         •   Fully vaccinated travelers do not need to self-quarantine following domestic travel.

         •   For more information, see Domestic Travel During COVID-19.


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     International travel
         •   Fully vaccinated travelers do not need to get tested before leaving the United States unless required by their destination.

         •   Fully vaccinated air travelers coming to the United States from abroad, including U.S. citizens, are still required to have a
             negative SARS-CoV-2 viral test result or documentation of recovery from COVID-19 before they board a flight to the
             United States.

         •   International travelers arriving in the United States are still recommended to get a SARS-CoV-2 viral test 3-5 days after
             travel regardless of vaccination status.

         •   Fully vaccinated travelers do not need to self-quarantine in the United States following international travel.

         •   For more information, see International Travel During COVID-19.




     Recommendations for Isolation, Quarantine and Testing
     The following recommendations apply to non-healthcare settings. Guidance for residents and staff of healthcare settings can
     be found in the Updated Healthcare Infection Prevention Control Recommendations in Response to COVID-19 Vaccination.


     Fully vaccinated people with COVID-19 symptoms
     Although the risk that fully vaccinated people could become severely ill and die of COVID-19 is low, any fully vaccinated
     person who experiences symptoms consistent with COVID-19 should isolate themselves from others, be clinically evaluated
     for COVID-19, and tested for SARS-CoV-2 if indicated. The symptomatic fully vaccinated person should inform their healthcare
     provider of their vaccination status at the time of presentation to care.


     Fully vaccinated people with no COVID-like symptoms following an
     exposure to someone with suspected or confirmed COVID-19
     Fully vaccinated people who have come into close contact with someone with COVID-19 should be tested 5-7 days following
     the date of their exposure and wear a mask in public indoor settings for 14 days or until they receive a negative test result. [ii]
     They should isolate if they test positive. Fully vaccinated people who live in a household with someone who is
     immunosuppressed, at increased risk of severe disease, or unvaccinated (including children <12 years of age) could also
     consider masking at home for 14 days following a known exposure or until they receive a negative test result. Most fully
     vaccinated people with no COVID-like symptoms do not need to quarantine or be restricted from work following an exposure
     to someone with suspected or confirmed COVID-19, if they follow the testing and masking recommendation above. [iii]


     Fully vaccinated people should monitor for symptoms of COVID-19 for 14 days following an exposure.


     Fully vaccinated people with no COVID-19-like symptoms and no known
     exposure to someone with suspected or confirmed COVID-19
     It is recommended that fully vaccinated people with no COVID-19-like symptoms and no known exposure should be
     exempted from routine screening testing programs, if feasible.



                            For Healthcare and Public Health
                           COVID-19 Clinical and Professional Resources




     Annex
     In general, people are considered fully vaccinated:


         •   2 weeks after their second dose in a 2-dose series, such as the Pfizer-BioNTech or Moderna vaccines, or
             2 weeks after a single-dose vaccine, such as Johnson & Johnson’s Janssen vaccine

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     This guidance applies to COVID-19 vaccines currently approved or authorized for emergency use by the U.S. Food and Drug Administration
             •
     (Pfizer-BioNTech, Moderna, and Johnson & Johnson [J&J]/Janssen COVID-19 vaccines), and can be applied to COVID-19 vaccines that have been
     listed for emergency use by the World Health Organization (such as AstraZeneca/Oxford). Additionally, this guidance can be applied to clinical
     trial participants from U.S. sites who received all recommended doses of a COVID-19 vaccine that is neither approved nor authorized for use by
     FDA but is listed for emergency use by WHO, or who have received the full series of an “active” (not placebo) COVID-19 vaccine candidate for
     which vaccine efficacy has been independently confirmed (e.g., by a data and safety monitoring board). Currently, participants in the U.S.-based
     AstraZeneca and Novavax COVID-19 vaccine trials meet these criteria. These U.S. participants in COVID-19 vaccine trials can be considered fully
     vaccinated 2 weeks after they complete the vaccine series, if it has been confirmed that they received “active” vaccine, and not placebo. More
     information is available at Interim Clinical Considerations for Use of COVID-19 Vaccines | CDC.


     Interpretation of vaccine records: CDC has not recommended the use of heterologous (i.e., mix-and-match) primary series. However, the use of
     such strategies (including mixing of mRNA, adenoviral, and mRNA plus adenoviral products) is increasingly common in many countries outside
     of the United States. Therefore, for the purposes of interpretation of vaccination records, individuals can be considered fully vaccinated ≥2
     weeks after receipt of the last dose if they have received any single dose of an FDA approved/authorized or WHO EUL approved single-dose
     series (i.e., Janssen), or any combination of two doses of an FDA approved/authorized or WHO emergency use listed COVID-19 two-dose series.
     The recommended interval between the first and second doses of FDA-approved/authorized and WHO-EUL listed vaccines varies by vaccine
     type. However, for purposes of interpretation of vaccine records, the second dose in a two dose heterologous series must have been received
     no earlier than 17 days (21 days with a 4 day grace period) after the first dose.


     The above guidance on interpreting vaccine records does not impact CDC recommendations on primary series vaccination and should not
     guide clinical practice. [iv]



     Previous Updates

                 Updates from Previous Content




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             As of July 27, 2021


                  •   Added a recommendation for fully vaccinated people to wear a mask in public indoor settings in areas of
                      substantial or high transmission.

             As of July 16, 2021


                  •   Updated considerations for people who are immunocompromised

             As of July 12, 2021


                  •   Updated Choosing Safer Activities infographic with new considerations for the example activity for outdoor
                      gatherings with fully vaccinated and unvaccinated people.



     [i]
            Science Brief: COVID-19 Vaccines and Vaccination (cdc.gov)

      Kissler SM, Fauver JR, Mack C, et.al. Viral dynamics of SARS-CoV-2 variants in vaccinated and unvaccinated individuals.
     [ii]

     MedRxiv 2021.02.16.21251535; doi: https://doi.org/10.1101/2021.02.16.21251535 

     [iii]   Exceptions when work restrictions may be considered are for fully vaccinated health care providers following high risk
     exposures. Information can be found in Updated Healthcare Infection Prevention and Control Recommendations in Response
     to COVID-19 Vaccination.

     [iv]    Vaccines administered in a manner inconsistent with regulatory approval or authorization issued by the relevant authority
     may result in loss of liability protection, violations of the CDC COVID-19 Vaccination Program provider agreement, and lack of
     access to compensation programs under U.S. law.
                                                                                                                                                       Last Updated Oct. 15, 2021




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